                                                                                  18-82940-CRJ12
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                      UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA - NORTHERN DIVISION

  In the Matter of:
   Jeremy Andrew Bray                     }     Case No: 18-82940-CRJ12
    SSN: XXX-XX-8166                      }
      DEBTOR(S).                          }
                                          }
                                          }

                                        ORDER
This matter came before the Court on Wednesday, January 09, 2019 10:00 AM, for a hearing on
the following:
     RE: Doc #44; Debtor's Amended Application to Employ Mitchell A. Toups, Richard L.
     Coffman and Michael D. Godwin as Special Counsel
Proper notice of the hearing was given and appearances were made by the following:
     Michele T. Hatcher (Trustee)
     Richard M Blythe (Bankruptcy Administrator)
     Tazewell Taylor Shepard IV, attorney for Jeremy Andrew Bray (Debtor)


It is therefore ORDERED, ADJUDGED and DECREED that:

   The Debtor's Amended Application to Employ Mitchell A. Toups, Richard L. Coffman and
   Michael D. Godwin as Special Counsel is DENIED without prejudice for the reasons stated
   on the record.

Dated: 01/09/2019                                  /s/ CLIFTON R. JESSUP JR.
                                                   CLIFTON R. JESSUP JR.
                                                   United States Bankruptcy Judge




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